                                         January 19, 2024

Via ECF
Honorable Kenneth M. Karas
United States District Court
Southern District of New York
300 Quarropas Street
White Plains, New York 10606

               Re:     Andrew Krivak, Jr. v. Putnam County, et al.
                       23 Civ. 6960 (KMK)

Dear Judge Karas:

        This firm represents the County of Putnam, Sheriff Robert Thoubboron, Investigators
Harold Turner, Daniel Stephens, Patrick Castaldo, William Quick, John Daniel Rees, and William
Asher, Putnam County District Attorneys Robert V. Tendy and Kevin Wright, Putnam County
Assistant District Attorneys Larry Glasser, Chana Krauss and Christopher York, and District
Attorney Investigator Ralph Cilento in the above-mentioned matter. I write this evening to request
permission and leave to file a memorandum of law in support of Defendants Tendy, Wright,
Glasser, Krauss, and York’s Fed. R. Civ. P. 12(b)(6) motion to dismiss Plaintiff’s Complaint (the
PCDA Defendants) that exceeds the 25-page limit set forth in Your Honor’s Individual Rules of
Practice. The PCDA Defendants’ memorandum of law is 28 pages in length, exceeding the limit
by three pages. The memorandum exceeds the limit because the recitation of the factual
background, with citations to Plaintiff’s 106-page Complaint, is unavoidably lengthy to
sufficiently set forth the facts relevant to the PCDA Defendants’ argument that they are entitled to
absolute immunity from suit and application of the law to the facts of this matter.

       Thank you for Your Honor’s consideration of this request.

                                                     Respectfully submitted,



                                                     Drew W. Sumner


cc:    Counsel of record (via ECF)
